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IN THE UNITED STATES DISTRICT COURT ate :
FOR THE NORTHERN DISTRICT OF ILLINOIS

 

EASTERN DIVISION APR 16 2003
Noushin Izadifar, M.D., BULGE SHADUR
Plaintiff, b SC 2
;  O8C 2550

MAGISTRATE JUDGE ASHMAN
Jury Demand ,
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Loyola University, Loyola )
University Physicians Foundation, )
Kim Trevino, R.N., Elaine Adams, )
M.D., Stephen Slogoff, M.D., )
Anthony Barbato, M.D., )

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Defendant.

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COMPLAINT Bo

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NOW COMES the Plaintiff, Noushin Izadifar, M.D., by “her:
attorneys, John O'Connor and Elizabeth Hubbard of Hubbard &
O'Connor, Ltd., and complaining of the Defendants, Loyola
University, Loyola University Physicians Foundation, Kim Trevino,
R.N., Blaine Adams, M.D., Stephen Slogoff, M.D. and Anthony
Barbato, M.D., states as follows:

JURISDICTION

l. Count J of this Complaint arises under 28 U.S.C. Sec.
1332 and 42 U.S.C. Sec. 2000 (e) (5) (f) and is brought under Title
VII of the Civil Rights Act of 1964, as amended (42 U.S.C. Sec.
2000 (e€) 2) to secure protection and to redress deprivation of
rights arising thereunder.

2. Counts II and III are properly before this Court pursuant

to its supplemental jurisdiction under 28 U.S.C. Sec. 1367(a) as

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they arise out of a common set of facts as those alleged in Count
I.
3. All conditions precedent to jurisdiction under 42 U.S.C.
Sec. 2000 (e) (5) have occurred or have been complied with for the
purposes of the complaint, to wit:
a. EEOC charges were filed on September 27, 2002 and
October 22, 2002;
b. this complaint has been filed within 90 days after
receipt of notice that the EEOC has completed action on
the charges and issued right to sue letters, which right
to sue letters were received on April 14, 2003.

VENUE

 

4. The action properly lies in the Northern District of
Illinois, Eastern Division, pursuant to 28 U.S.C Sec. 1391 (b), as
Defendants Loyola University and Loyola University Physicians
Foundation are located in and do business in this District and the
events giving rise to the Complaint occurred in this district. [In
addition, the other defendants reside in this district.

THE PARTIES AND FACTS

 

5. The Plaintiff, Noushin Izadifar, M.D., (hereinafter
“Tzadifar” or “Plaintiff”) is a female person residing in the
United States.

6. The Defendant, Loyola University (hereinafter “Loyola” or
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“Defendant Loyola”) is an institution of higher education and is
engaged in the practice of medicine and teaching of medicine
through the Loyola University Medical Center ("LUMC") and Stricht
School of Medicine in Maywood, Illinois. Loyola employs in excess
of 500 employees. Loyola University is an employer as defined by
Title VII of the Civil Rights Act of 1964.

7. The Defendant, Loyola University Physicians Foundation
(hereinafter "LUPF" or “Defendant LUPF") is a medical practice
group employing physicians who have hospital privileges at LUMC.
LUPF employee in excess of 500 employees. LUPF is an employer as
defined by Title VII of the Civil Rights Act of 1964.

8. Defendant Kim Trevino, R.N. is a registered nurse employed
by Hines VA Hospital in Maywood, Illinois, and held that position
during 2002.

9. Defendant Elaine Adams, M.D. is an employee of Defendant
Loyola and Defendant LUPF and is working as chief of medicine at
Hines VA Hospital in Maywood, Illinois and LUMC, and held those
positions during 2002.

10. Defendant Stephen Slogoff, M.D. is the Dean of Stritch
School of Medicine of Defendant Loyola University, and held that
position during 2002.

li. Defendant Anthony Barbato, M.D. is the President and

Chief Executive Officer of Loyola University Health System, Loyola
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University and held that position in 2002.

12. Plaintiff was hired by Loyola and LUPF (collectively
referred to as the "Loyola Defendants") in or around April 2000 as
an instructor and attending physician and was promoted to clinical
assistant professor and attending physician in June 2001.

13. Throughout her employment with Loyola and LUPF,

Plaintiff's performance met and exceeded Loyola's and LUPF's lawful

expectations.
14. During her employment with the Loyola Defendants,
Plaintiff was supervised by Bahman Emami, M.D., Professor and

Chairman of the Department of Radiation Oncology at the Loyola
Defendants.

15. From the beginning of her employment until mid-February
2002, Emami subjected Plaintiff to harassment, including unwanted
touching, requests for a sexual relationship, sexual jokes and
innuendo and other forms of harassment.

16. Emami was motivated to engage in the conduct described in
Paragraph 15 by Plaintiff's gender, female, and her national
origin, Iranian.

17. Plaintiff protested Emami's conduct but it continued.

18. Emami's conduct was unwelcome and created a hostile,
offensive and intimidating working environment, interfering with

Plaintiff's ability to perform her job.
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19. On or about February 19, 2002, Plaintiff sent a written
letter to Emami reiterating that she did not want a personal
relationship with him. On or about February 18, 2002, Plaintiff
announced that she was pregnant.

21. From on or about February 19, 2002 until July 2002,
Emami's harassment continued in a hostile form. Emami ignored
Plaintiff when she needed to communicate with him to perform her
job. Emami was falsely critical and hostile to Plaintiff and
otherwise interfered with Plaintiff's ability to perform her job.

22. Emami's conduct was unwelcome and created a hostile,
offensive and intimidating working environment, interfering with
Plaintiff's ability to perform her job.

23. Emami was motivated to engage in the conduct described in
Paragraph 21 by Plaintiff's gender, female, her pregnancy and her
national origin, Iranian.

24. Plaintiff's job duties included work at LUMC and Hines VA
hospital, which shared certain equipment with LUMC.

25. From 2000 to 2002, Plaintiff worked with Defendant
Trevine, a nurse at Hines.

26. Trevino developed an animosity towards Plaintiff because
of Plaintiff's lack of tolerance for incompetent nursing practices.

Trevino repeatedly disobeyed direct orders from Plaintiff and

otherwise interfered in Plaintiff's ability to treat patients.
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27, On or around April 17, 2002, Trevino intentionally chose
not to disinfect an instrument used on two patients and falsely
claimed that Plaintiff directed her not to disinfect the
instrument. Specifically, Trevino informed third party medical
professionals that Plaintiff would proceéd with a procedure
"without proper sterilization”. She then suggested that the
patients would "get an infection from this unsterile technique".

28. On or around April 24, 2002, Trevino falsely accused
Plaintiff of assaulting and striking her. Trevino made the false
statements to third parties.

29, Dr. Adams was an indirect supervisor of Trevino and
another nurse at Hines VA who had come under criticism from
Plaintiff for incompetent work.

30. Dr. Adams issued a report on or about June 6, 2002,
falsely claiming that Plaintiff had committed battery upon Trevino,
falsely accusing Plaintiff of a "physical attack" on Trevino,
falsely accusing Plaintiff of lying, and falsely accusing Plaintiff
of an inability to perform her job as a doctor and putting patients
at risk of harm, Dr. Adams published the report to Dr. Emami and
other third parties.

31. In or about May 2002, Emami attempted to discourage
Plaintiff from renewing her contracts with the Loyola Defendants.

Despite such discouragement, Plaintiff signed her contract renewals
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in May 2002.

32. In May 2002, Emami undertook efforts to take away
important job duties from Plaintiff and further undermine her
career at Loyola.

33. On or about June 11, 2002, Plaintiff contacted Debra
Arendziak in Loyola's administration and on June 12, 2002 Plaintiff
contacted Donna Halinski, director of faculty and administrative
services, in order to obtain information about filing a formal

sexual harassment complaint against Emami.

34. On or about July 10, 2002, Emami published to Halinski
and Slogoff a statement falsely accusing Plaintiff of committing a
physical assault and falsely claiming that Plaintiff was unfit to
practice medicine. He further republished false accusations made
by Dr. Adams as set forth in Paragraph 30, above.

35. At the time Emami published and republished the false
accusations, he knew the accusations to be false and acted with
reckless disregard for the truth.

36. Emami made the false accusations in order to harm
Plaintiff and in order to justify his recommendation that Plaintiff
be fired from Loyola University.

37. On or about July 10, 2002, Emami recommended that
Plaintiff be fired from Loyola University. Emami was motivated to

recommend firing Plaintiff in retaliation for her rejecting his
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sexual advances and in retaliation for her efforts to report
Emami’s sexual advances. Emami was further motivated to recommend
firing Plaintiff by her gender, pregnancy and her national origin.

38. Emami knew that terminating Plaintiff’s employment was
not in the interests of Loyola University.

39. On or about July 11, 2002, Dr. Slogoff republished the
false accusations against Plaintiff described in Paragraphs 30 and
34, above, to Dr. Barbato. Dr. Slogoff further falsely accused
Plaintiff of committing a physical assault and of committing grave
misconduct in her performance as a doctor. He published these
false accusations to Dr. Barbato, Donna Halinski and Emami.

40. At the time he published the statements described in
Paragraph 39, Dr. Slogoff knew the statements to be false and / or
acted with reckless disregard for the truth.

41. Dr. Slogoff made the false accusations in order to harm
Plaintiff and in order to justify his recommendation that Plaintiff
be fired from Loyola University.

42. On or about July 11, 2002, Dr. Slogoff recommended that
Plaintiff be fired from Loyola University in order to harm
Plaintiff.

43. In recommending the firing of Plaintiff, Dr. Slogoff was
not acting in furtherance of Loyola University’s interests,

44, On or about July 17, 2002, Dr. Barbato published a letter
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falsely accusing Plaintiff of grave misconduct in her position as a
doctor and physical assault. Dr. Barbato published the false
statements to Dr. Slogoff, Leonard Vertuno, M.D. and Michael
Vivoda.

45, At the time he published the statements described in
Paragraph 44, Dr. Barbato knew the statements to be false and / or
acted with reckless disregard for the truth.

46. On July 17, 2002, Plaintiff was fired from her position
with Loyola University.

47. On July 19, 2002, Plaintiff was fired from her position
with LUPF.

COUNT I- TITLE VII VIOLATIONS

48. Plaintiff is a female and was, at all times relevant, an
employee of Defendant Loyola University and Defendant LUPF
protected by Title VII of the Civil Rights Act of 1964, 42 U.S.C.
Sec. 2000 (e) et seq. ("Title VII").

49, The Loyola Defendants discriminated against Plaintiff on
the basis of her sex in violation of Title VII in that they
committed and permitted unwelcome sexual advances, and verbal and
physical conduct of a sexual nature to pervade the Plaintiff's
workplace and to create a hostile or offensive environment.

50. Plaintiff’s gender, pregnancy, national origin, and

refusal to engage in a sexual relationship with Emami were
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motivating factors in the Loyola Defendants’ decisions to terminate
her employment, in violation of Title VIT.

51. The Loyola Defendants fired Plaintiff in retaliation for
her opposition to Emami's sexual harassment, in violation of Title
VII.

52. The Loyola Defendants unreasonably failed to prevent and
remedy the sexual harassment of Plaintiff.

53. As a result of the Loyola Defendants’ unlawful conduct,
Plaintiff has suffered and continues to suffer economic and non-
economic damages including, but not limited to, lost salary and
benefits, lost career opportunity, loss of valuable research
product, loss or reputation, pain, suffering, emotional distress,
and loss of enjoyment of life.

54. The Loyola Defendants actions were taken with the intent
to harm Plaintiff and with reckless disregard for her right to be
free of harassment, discrimination and retaliation.

WHEREFORE, Plaintiff respectfully prays that this Court enter
judgment in her favor and against Defendant Loyola University and
Defendant Loyola Physicians Foundation and award to her all
available relief including, but not limited to, reinstatement or
front pay, back pay and benefits, compensatory damages, punitive
damages, costs and attorney’s fees.

COUNT II - DEFAMATION

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55. Defendants Trevino, Adams, Emami, Slogoff, Barbato, and
the Loyola Defendants published statements falsely accusing
Plaintiff of a physical assault and of grave misconduct in her
position as a doctor.

56. Trevino further published false statements accusing
Plaintiff of negligence and incompetence in her practice of
medicine and of hitting her.

57. Dr. Adams published a false statement accusing Plaintiff
of attacking a nurse.

58. At the time each of the Defendants made the false
statements described herein, they knew the statements to be false
and / or acted with reckless disregard for the truth and acted with
malice.

59. The false statements described herein constitute
defamation per se.

60. As a result of the false statements, Plaintiff suffered
loss to her reputation, pain, suffering, emotional distress, and
loss of enjoyment of life.

61. As a result of the false statements, Plaintiff was fired
from her job and lost salary and benefits.

62. The false statements described herein constitute
defamation per quod,

WHEREFORE, Plaintiff respectfully prays that this Court enter

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judgment in her favor and against Defendants Trevino, Adams, Emami,
Slogoff, Barbato, and the Loyola Defendants and award to her all
available relief including, but not limited to, reinstatement or
front pay, back pay and benefits, compensatory damages, punitive
Gamages and costs.

COUNT III - TORTIOUS INTERFERENCE WITH CONTRACT

 

63. Defendants Trevino, Adams, Emami, Slogoff, Barbato, and
Loyola University published statements falsely accusing Plaintiff
of a physical assault and of grave misconduct in her position as a
doctor,

64. Trevino further published false statements accusing
Plaintiff of negligence and incompetence in her practice of
medicine and of hitting her.

65. Dr. Adams published a false statement accusing Plaintiff
of attacking a nurse.

66. At the time each of the Defendants made the false
statements described herein, they knew the statements to be false
and / or acted with reckless disregard for the truth.

67. At the time Trevino, Adams, Emami, Slogoff, Barbato, and
Loyola University made the false statements described herein, they
knew that Plaintiff was employed under contract with LUPF.

68. Trevino, Adams, Emami, Slogoff, Barbato, and Loyola

University made the false statements in order to induce LUPF to

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breach its contract with Plaintiff and in order to harm Plaintiff.

69. At the time Emami and Slogoff recommended the firing of
Plaintiff from Loyola University, they knew that Plaintiff was
employed under contract with LUPF.

70. Emami and Slogoff recommended the firing of Plaintiff
from Loyola University in order to induce LUPF to breach its
contract with Plaintiff and in order to harm Plaintiff.

71. As a result of the actions by Defendants described in
Paragraphs 63 through 70, LUPE breached its contract with
Plaintiff.

72. As a result of Defendants’ conduct aforesaid, Plaintiff
has suffered economic and non-economic damages including, but not
limited tc, lost salary and benefits, lost career opportunity, loss
of valuable research product, loss or reputation, pain, suffering,
emotional distress, and loss of enjoyment of life.

73. At the time Trevino, Adams, Emami, Slogoff and Barbato
made the false statements described herein, they knew that
Plaintiff was employed under contract with Loyola University.

74. Trevino, Adams, Emami, Slogoff and Barbato made the false
statements in order to induce Loyola University to breach its
contract with Plaintiff and in order to harm Plaintiff. Such false
statements were not made in furtherance of any interest of

Loyola's.

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75. At the time Emami and Slogoff recommended the firing of
Plaintiff from Loyola University, they knew that Plaintiff was
employed under contract with Loyola University.

76. Emami and Slogoff recommended the firing of Plaintiff
from Loyola University in order to induce Loyola University to
breach its contract with Plaintiff and in order to harm Plaintiff.
Such false statements were not made in furtherance of any interest
of Loyola's.

77. As a result of the actions by Defendants described in
Paragraphs 73 through 76, Loyola University breached its contract
with Plaintiff.

78. As a result of Defendants’ conduct aforesaid, Plaintiff
has suffered economic and non-economic damages including, but not
limited to, lost salary and benefits, lost career opportunity, loss
of valuable research product, loss or reputation, pain, suffering,
emotional distress, and loss of enjoyment of life.

WHEREFORE, Plaintiff respectfully prays that this Court enter
judgment in her favor and against Defendants Trevino, Adams, Emami,

Slogoff, Barbato, and Loyola University and award to her all

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available relief including, but not limited to, reinstatement or
front pay, back pay and benefits, compensatory damages, punitive

damages and costs.

Respectfully submitted,

Noushin Izadifar, Plaintiff,

    

BY:
Attorney for Plaintiff
John O’ Connor

Elizabeth Hubbard
Hubbard & O'Connor, Ltd.
900 West Jackson Blvd.
Suite Six West

Chicago, Illinois 60607
(312) 421-5960

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Defendant(s) ‘Loyola University; Loyola
a ; . : University Physicians Foundation, Kim Trevino,
Plaintiff(s): Dr. Noushin Jzadifar, M.D. RN. Elaine Adams, MD. Stephen Slogofs,
MLD., Anthony Barbato, MLD.

| County of Residence- Cook

Plaintiff's Atty: John oconner Defendants Atty:
yubbard & O'CORDO’: Lid. JUDGE SHADU
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MAGISTRATE JUDGE ASHMAN

 

 

 

 

Ti. Citizenship of Principal
Parties Diversity Cases Only

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Title VE of the Civil Rights Act of 1964, as amended (42 U.S.C. See
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

In the Matter of

Dr. Noushin fzadifar, M.D,
Plaintiff,

¥.
Loyola University, Loyola University Physicians Foundation, Kim Trevino, RN,
Elain Adams, MD, Stephen Slogoff, MD, Anthony Barbato, MD,
Defendants.

EASTERN DIVISION

SUOGE SHADUR,

“GSC 2550

APPEARANCES ARE HEREBY FILED BY THE UNDERSIGNED AS ATTORREY SV FORIU OGE ASHMAN

Dr. Noushin Izadifar, M.D. - Plaintiff.

 

 

 

 

 

 

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IDENTIFICATION NUMBER (SEE ITEM 4 ONREVERSE)

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